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8                                    UNITED STATES DISTRICT COURT

9                                  SOUTHERN DISTRICT OF CALIFORNIA

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                                                              Case No.: 20cv1258-DMS (BLM)
11    MELISSA MORAND-DOXZON, on behalf of
      herself, all others similarly situated, and on
12                                                            ORDER GRANTING JOINT MOTION
      behalf of the general public,
                                                              FOR CONTINUANCE OF PLAINTIFF’S
13                                           Plaintiff,       JANUARY 18, 2021 DEADLINE TO FILE
                                                              A MOTION FOR CLASS
14    v.                                                      CERTIFICATION; AND FEBRUARY 22,
15                                                            2021 MANDATORY SETTLEMENT
      DELAWARE NORTH COMPANIES
                                                              CONFERENCE
16    SPORTSERVICE, INC., CALIFORNIA
      SPORTSERVICE, INC., AND DOES 1-100
                                                              [ECF No. 35]
17
                                         Defendants.
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20          On November 17, 2020, the parties filed a Joint Motion for Continuance of Plaintiff’s

21    Deadline to File a Motion for Class Certification and Setting of Class Certification Briefing

22    Schedule. ECF No. 26. The parties sought to continue the December 4, 2020 deadline for filing

23    the motion by forty-five days to January 18, 2021.           Id. at 3.   The parties proposed that

24    Defendants’ opposition to the motion be due on February 17, 2021 and Plaintiff’s reply on March

25    3, 2021. Id.

26          On November 27, 2020, the Court issued an Order Granting the parties’ joint motion.

27    ECF No. 27.

28          On January 8, 2021, the parties filed a Joint Motion for Continuance of Plaintiff’s January

                                                          1
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1     18, 2021 Deadline to file a Motion for Class Certification; and February 22, 2021 Mandatory

2     Settlement Conference. ECF No. 35. The parties seek to continue the deadline for Plaintiff to

3     file a motion for class certification from January 18, 2021 to March 4, 20211 and the Mandatory

4     Settlement Conference (“MSC”) from February 22, 2021 to April 23, 2021. Id. at 2. In support,

5     the parties state that there is a pending motion to amend the complaint that if granted, will add

6     an additional Defendant and Plaintiff to the case who will need to engage in additional discovery.

7     Id. at 2. There is also a second motion to remand pending that challenges the Court’s jurisdiction

8     and “it is in the best interests of the Parties and the Court to have this motion ruled on

9     prior to Plaintiff filing a motion for class certification.” Id. at 2, 8. The parties further state that

10    Plaintiff needs additional time to analyze and submit to an expert discovery that Defendants

11    produced to her on January 8, 2021 before she can submit her motion for class certification. Id.

12    at 2-3. Plaintiff is also waiting for Defendants to produce additional discovery that she requires

13    prior to filing her motion. Id. at 3. Finally, the parties state that the MSC should be continued

14    until after the class certification briefing is completed as it “will allow for a more productive

15    settlement conference and will place the Parties in a better position to evaluate the issues.” Id.

16    at 4.

17            Good cause appearing, the parties’ motion is GRANTED as follows:

18            1.     Plaintiff’s motion for class certification must be filed on or before March 4, 2021.

19    Defendants must file their opposition to Plaintiff’s motion for class certification by April 5, 2021.

20    Plaintiff must file her reply by April 19, 2021.

21            2.    The February 22, 2021 MSC is CONTINUED to April 22, 2021 at 9:30 a.m.

22            3.    No    later   than   April 12, 2021, the parties shall submit directly to Magistrate

23    Judge Major's chambers (efile_major@casd.uscourts.gov) confidential settlement statements no

24    more than ten (10) pages in length.

25            4.    No later than close of business on April 12, 2021, counsel for each party shall

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27      If the motion is granted, the parties propose that Defendants’ opposition to the motion for
      class certification be due on April 5, 2021 and Plaintiff’s reply on April 19, 2021. ECF No. 35 at
28    3.

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1     send an e-mail to the Court at efile_Major@casd.uscourts.gov containing the participant names

2     and contact information for the MSC.

3           5.     All other deadlines and requirements remain as previously set. See ECF Nos. 11

4     and 32.

5           IT IS SO ORDERED.

6     Dated: 1/11/2021

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